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AO 458 (Rev. 061'09} Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
Southern District of Indiana I:l

 

 

WILL|AM eARNHouSE, )
Plaimgj¢ )
v. ) Case No. 1:19-cv-00958-TWP-DLP
ClTY oF MuNClE, etal., )
Defendant )
APPEARANCE oF COUNSEL

To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this cour‘t, and I appear in this case as counsel for:

OFF|CER TODD

Date: 04/04/2019 /s/ Joseph W. Smith

Attorney 's signature

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